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                    Exhibit H




    State of California ex rel. Ven A-Care of the Florida Keys, Inc. v.
          Abbott Labs, Inc. et al., Civil Action No. 03-11226-PBS

Exhibit to the November 25, 2009 Declaration of Christopher C. Palermo
     in Support of Mylan ' s Motion for Partial Summary Judgment
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                                                                                           Page 1
   1                 IN THE UNITED STATES DISTRICT COURT

   2                        DISTRICT OF MASSACHUSETTS

   3                                     - - - -

   4     -------------------------------X

   5     THE COMMONWEALTH                             )

   6     OF MASSACHUSETTS,                            )

   7                           Plaintiff,             )     Civil Action

   8                 -vs-                             )     No. 03-11865-PBS

   9     MYLAN LABORATORIES, INC.,                    )

 10      IVAX CORPORATION, WARRICK                    )     November 26, 2007

 11      PHARMACEUTICALS CORPORATION,                 )     Monday, 9:42 a.m.

 12      WATSON PHARMACEUTICALS, INC.,                )

 13      SCHEIN PHARMACEUTICAL, INC.,                 )     Canonsburg, PA

 14      TEVA PHARMACEUTICALS USA, INC.,)

 15      PAR PHARMACEUTICAL, INC.,                    )

 16      ETHEX CORPORATION, PUREPAC                   )

 17      PHARMACEUTICAL CO., and                      )

 18      ROXANE LABORATORIES, INC.,                   )

 19                            Defendants.            )

 20      -------------------------------X

 21                VIDEOTAPE DEPOSITION OF HARRY A. KORMAN

 22



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   1     have a court reporter here today, she'll prepare

   2     a transcript of the testimony that is given

   3     today.         And portions of the videotape and/or the

   4     transcript may be played or read to a jury in

   5     Boston.

   6                      Are you aware that Massachusetts has

   7     sued Mylan and other drug companies alleging

   8     fraud and false claims?

   9               A.     I'm aware that Massachusetts has filed

 10      a lawsuit.

 11                Q.    And are you aware that this deposition

 12      is being taken in that lawsuit?

 13                A.    I am aware of that, as well.

 14                Q.    You've taken an oath to tell the whole

 15      truth today and you -- are you aware that that

 16      oath obligates you to provide the full extent of

 17      your knowledge and information to the questions

 18      asked?

 19                      MR. ESCOBAR:     Objection to the form.

 20                      THE WITNESS:     I'm aware I'm sworn in to

 21      tell the whole truth.

 22      BY MR. MULLIN:



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   1               Q.   I'm going to try and frame my questions

   2     clearly.       If at any time you don't understand a

   3     question I would ask you to tell me that.                   I'll

   4     try and reframe the question.

   5                    And I would ask that we have the

   6     agreement that you will not answer any questions

   7     that you do not understand.

   8                    Is that agreeable?

   9               A.   That's agreeable.

 10                Q.   Mr. Escobar may put an objection on the

 11      record to questions I ask.              That's so that the

 12      judge can rule on those objections at trial.

 13      Unless Mr. Escobar specifically directs you not

 14      to answer you're obligated to answer the

 15      questions asked without regard to the objections.

 16                     Do you understand that?

 17                     MR. ESCOBAR:      Let me just object.         I

 18      will note that if I make objections it is often

 19      in the hope that you will rephrase the question,

 20      so we can take that one question at a time.

 21      BY MR. MULLIN:

 22                Q.   Do you understand that notwithstanding



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   1     an objection by Mr. Escobar you're obligated to

   2     answer the question?

   3                    MR. ESCOBAR:      Same objection.

   4                    THE WITNESS:      I understand that.

   5     BY MR. MULLIN:

   6               Q.   Mr. Korman, where were you born?

   7               A.   I was born in Racine, Wisconsin.

   8               Q.   And where did you grow up?

   9               A.   I grew up in numerous cities, primarily

 10      in Wisconsin.

 11                Q.   And what's been your formal education?

 12                A.   I have a four-year degree from the

 13      University of Wisconsin, Menomonie Campus, in

 14      marketing and distributive education.

 15                Q.   And when did you receive your degree?

 16                A.   I think it was approximately 1980 or

 17      1979.

 18                Q.   I'd ask you to take me through your

 19      employment history after you received your

 20      degree, telling me the companies you worked for

 21      and the time periods that you worked for them.

 22                A.   The first job I had out of college was



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   1     1998 to 2003.

   2               Q.   Okay.    I may also use, in the course of

   3     questions, the term subject drugs.                    Essentially,

   4     the case we've sued on relates to three drugs,

   5     Lorazepam, Clozapine and Phenytoin Sodium.

   6                    Do you understand what I'm saying when

   7     I say subject drugs?

   8               A.   Yes, I understand what you're saying.

   9               Q.   And the entity, the corporation that

 10      was sued in this case, is Mylan Laboratories,

 11      Incorporated.        Are you familiar with that

 12      corporation?

 13                     MR. ESCOBAR:      Objection, asked and

 14      answered.

 15                     MR. MULLIN:      Not in this deposition.

 16      BY MR. MULLIN:

 17                Q.   Are you familiar with that corporation?

 18                A.   Mylan Laboratories, Inc., yes, I'm

 19      familiar with that corporation.

 20                Q.   And is it -- has it recently changed

 21      its name to Mylan, Inc., I-N-C?

 22                A.   Yes, I believe that's what it's changed



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   1     its name to.

   2               Q.   And is it fair, is it accurate to say

   3     that that company is a holding company?

   4               A.   Yes, it's fair to say that Mylan, Inc.

   5     is a holding company.

   6               Q.   And that one of the things it holds is

   7     Mylan Pharmaceuticals, Inc.?

   8               A.   Yes, one of the assets of Mylan, Inc.

   9     is Mylan Pharmaceuticals, Inc.

 10                Q.   And throughout the relevant time

 11      period, January '98 through September 2003, what

 12      was the business of Mylan Pharmaceuticals, Inc.?

 13                A.   The primary business of Mylan

 14      Pharmaceuticals, Inc. was to sell generic

 15      pharmaceuticals into the marketplace.

 16                Q.   It both manufactured them and sold

 17      them?

 18                A.   Yes, it did.

 19                Q.   Okay.    In addition, did Mylan

 20      Laboratories, Inc., now Mylan, Inc., hold a

 21      company by the name of UDL Laboratories, Inc.?

 22                     MR. ESCOBAR:      Are you talking '98 to



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